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AO 91 (Rev. 02/09) Criminal Comp|aint

United States District Cou

for the
Western District of New York

  

 

United States of America )
v. § Case No. lS-MJ- QL(,
MUHAMMAD A. CHEEMA g
nefenaam )
CRIN[INAL COMI’LAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and
belief

Between on or about the date of Januarv 2012 through Julv 2017 in the county of Monroe in the
Western District of New York, the defendant violated 1_8 U.S.C. §§ 1035 & 1347 offenses described as
follows:

 

 

the defendant has violated Title 18, Urn`ted States, Code, Section 1347, Health Care Fraud, in that
between llanuary l, 2012 and July 11, 2017, within the Western District of New York, he did
knowingly and willfully execute and attempt to execute a scheme and artifice to defraud, obtain, by
means of materially false and fraudulent pretenses, representations, and promises, money and
property owned by and under the custody and control of Excellus and MVP, health care benth
programs as defined'in Title 18, Um'ted States Co'de, Section 24(b), in connection with the delivery of,
and payment for health care benefits, items, and services, and the defendant has violated Title 18,
United States, Code, Section 1035, Makfng False Starements Relarr'ng to Health Care Mafters, in that
between January 1, 2012 and July ll, 2017, Within the Western District of New York', he did
knowingly and willfully make materially false, tictitious, and fraudulent statements and
representations to include submitting false billing statements for services never rendered, in connection
with the delivery of, or payment for health care benefits, items, and services involving EXcellus and
MVP, health care benefit programs as defined in 18 U.S.C. §24(13).

This criminal complaint is based on these facts:
X Continued on the attached sheet.
Please see attached affidavit `

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Corn;lainanr’s St'gnamre

Kristin M. Gibson, S/A FBI

Printed name and title

Swoln to before me and signed in my presence

Date:g~ fig 25 rim §

City and State: Rochester1 New York Hon. J lo '.` han W. Feldman, U.S. Magistrate Judge

Printed name and title

 

 

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AFF]DAVI'I` IN SUPPORT OF ARREST WARRANT

STATE OF NEW YORK )
COUNTY OF MONROE ) SS:
CITY OF ROCHESTER )

I, Kristin l\/l. Gibson, being duly sworn, do depose and say:
[N’I`RODUC'I`ION

l. l am a Special Agent (“SA”) with the Federal Bureau of lnvestigation (“FBI”), and
have been employed in that capacity for approximately 3 years. I am currently assigned
to the FBI’s Buffalo Division, Rochester Resident Agency. During the course of my
employment with the FBI, l have received specialized training in, and have
participated in, criminal investigations involving violations of federal health care laws
and associated crimes

2. l have been involved in the investigation of Muhammad A. Cheema, M.D., a
psychiatrist licensed by the State of New York. As set forth below, the investigation
has revealed that Dr. Cheema devised and participated in a scheme to defraud a health
care benefit program in violation of Title 18, United States Code, Section 1347, and
making false statements relating to a health care matters, Title 18, United States Code,
Section 1035.

3. This affidavit is made in support of a criminal Complaint charging Dr. Cheema with
violations of Title 18, United States Code, Sections 1347, and 1035 (hereafter referred
to as the SUBJECT OFFENSES). The information contained in this afiidavit is based
upon my personal knowledge, as well as information I have received from my
discussions with and review of reports of other law enforcement officers, health care
insurers, and other witnesses I have not included herein each and every fact known
to me concerning this investigation Rather, l have set forth only those facts necessary
to establish that there is probable cause to believe that Dr. Cheema did commit the
Snbject Offenses.

PROBABLE CAUSE
Pert'ment Background Information

4. Dr. Cheema is a licensed psychiatrist who maintains a private practice, known as
Upstate Psychiatry, at 115 Sully’s Trail, Suite 4, Pittsford, New York, at which he
provides outpatient psychiatric services He has been at this location since
approximately February of 2017. Previously, from about 2011 through February of
2017, Dr. Cheema’s practice was located at Fairport Psychiatry, 1387 Fairport Rd,
Suite 580, Fairport, NY 14450. In addition to his private practice, Dr. Cheema has
been employed at Rochester Regional Health, various nursing homes, and has
participated in numerous speaking and consulting engagements for pharmaceutical
companies

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Health Care Benefit Programs

5- The term “health care benefit program” is defined in 18 U.S.C. § 24(b) to mean any
public or private plan or contract, affecting commerce, under which any medical
benefit, item, or service is provided to any individual, and includes any individual or
entity who is providing a medical benent, item, or service for which payment may be
made under the plan or contract

6. EXcellus BlueCross BlueShield (“Excellus”), MVP Health Care (“MVP”), Cigna,
United l-Iealth (“United”), and Aetna are private health care insurance companies
doing business in the Western District of New York. Medicare is a national social
insurance program administered by the United States federal government Excellus,
MVP, Cigna, United, Aetna, and Medicare contract with health care providers
including psychiatrists to pay the health care providers for certain medically necessary
medical services and treatments actually rendered to individuals covered by these
entities, and as such are “health care benefit programs” Henceforth and for the
purpose of this affidavit, EXcellus, MVP, Cigna, United, Aetna, and Medicare will be
referred to. as “health care benefit programs.”

Health Insurance Claim Form / HCFA 1500

7. Based on my training and experience, l lmow that physicians submit reimbursement
requests for medical services to health care benefit programs on a standard form known
as a Health lnsurance Claim Form, or Form HCFA 1500. Each claim for
reimbursement on a HCFA 1500 must be signed by the physician, and describe among
other things: the diagnosis; date of service; procedure code; type of service or services
provided by the physician; charges; and the name of the physician providing the
service or services The physician is required to sign the HCFA 1500 and “certify that
the services shown on this form...were personally furnished by me...”. The HCFA
1500 claim form can be submitted by either a standard paper claim form that is mailed,
or electronically

8- Health care benefit program insurers process the HCFA 1500 claim submissions by
qualified providers They process these claims, and then pay the health care provider
for the amount of any covered service rendered, as claimed on the HCFA 1500 claim
form, which is signed and certified by the provider The health care benefit programs
rely on the accuracy and truthfulness of the information contained in the HCFA 1500
claim forms in processing and paying providers for services rendered to patients

Medical Records Requjrement

9. Based on my training and experience, l know that physicians and other providers are
required by contract and by regulation to maintain Written medical records for all
patients Such medical records must accurately and truthfillly describe, among other
things, patient histories, pertinent findings examination results, test results, lab results,
and treatment rendered to patients

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10. Among other purposes written medical records provide documentary support for the
I-ICFA 1500 claim forms submitted by a provider. A medical record must accurately
reflect the physician’s medical diagnosis and support the level of service or treatment
provided to the patient If the medical provider’s notes in a medical record do not
support the level of service provided, or adequately describe the service provided, then
the claim for payment for that service can be denied by the health care benefit pro gram.

11. Two main types of medical records exist in mental health practice One type of record
kept is basic records, also known as progress notes Progress notes are part of the
patient's record or file and usually follow a standardized format, such as SOAP
(Subjective, Objective, Assessment, and Plan). The progress notes include details of
the patient's syrnptoms, assessment, diagnosis and treatment including
documentation of how the medical provider addressed crisis issues and processed
them. The progress notes also allow the medical provider to compare a patients past
and current status communicate findings and allow review of case details If
psychotherapy is provided to a patient, then the progress notes must designate the time
spent on providing psychotherapy

12. The other type of medical records that exist in mental health practice are
psychotherapy notes Psychotherapy notes are documentation or analysis Of the
contents of conversation that occurred during a private counseling session or a group,
joint, or family counseling session. Psychotherapy notes exclude medication
prescription and monitoring counseling session start and stop times, the modalities
and frequencies of treatment furnished, results of clinical tests, and any summary of
the following items: diagnosis functional status, the treatment plan, symptoms
prognosis, and progress to date. HIPAA protections for psychotherapy notes include
the provision that they remain separate from the patient‘s main record.

Current Proccdural Terminology (CPT) Codes

13. Medical services and procedures provided are represented in coded numerical form on
the HCFA 1500 insurance claim. Based on my training and experience, 1 know that
these service and procedure codes are listed and described in detail in the “Current
Procedural Terminology” (“CPT”) manual, a national standard reference and coding
manual published by the American Medical Association in order to provide a uniform
language to accurately describe medical, surgical and diagnostic services

14. These service and procedure codes are commonly referred to as “CPT codes,” and
identify the nature and complexity of the services provided by the physician ln 2000,
to implement the Health lnsurance Portability and Accountability Act (l-IIPAA) of
1996, the Department of Health and l-Iuman Services designated the CPT code set as
the national coding standard for physicians and other health care professional services
and procedures As a result, for all financial and administrative health care
transactions CPT codes must be used in describing health care services rendered ln
addition, based on my training and experience, l know that health care benefit
programs contractually require health care providers to use CPT codes in submitting
reimbursement claims

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15. Health care providers submitting claims to health care benefit programs for

reimbursement also must provide their diagnosis for the patient on the claim forms A
diagnosis is the name given to a patient’s disease or condition, as determined by a
physician, and is used to determine whether a prescribed treatment or therapy is
medically necessary and appropriate Based on my training and experience, l know
that numerical codes for diagnoses are contained in the Manual of international
Classification of Diseases 10']1 Edition (“ICD-lO Manual”), the national standard for
the health care industry. Health care providers seeking reimbursement determine
which diagnosis code in the lCD-10 Manual corresponds to the patient’s condition for
which services are being rendered, and places that code on the claim form.

16. Based on my training and experience, l know that some psychiatry services such as

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psychotherapy, may be reported in conjunction with evaluation and management
(“E/M”) services, when performed E/M services include the assessment counseling,
and pharmacological management provided to a patient E/l\/l services may also be
reported alone for the treatment of psychiatric conditions rather than using a

psychiatry services code such as psychotherapy, when minimal or no associated

psychotherapy is provided

There are several categories and subcategories of E/l\/l services defined in the CPT
manual Each category represents a specific type of E/ M, such as an “Office or Other
Outpatient Service.” Within each of these categories there are subcategories that define
the type and extent of the service provided with more specificity. Under each of these
subcategories there are three to five levels of E/M services available for billing
purposes For example, the subcategories of “Office or Other Outpatient Services”
would include “New Patient” (CPT codes 99201 through 99205) and “Established
Patient” (CPT codes 99211 through 99215).

The components of an E/M service are defined in the CPT to include: history, physical
examination, medical decision making, counseling coordination of care, nature of
presenting problem, and tirne. The first three components (history, physical
examination, and the medical decision making) are considered the key components in
selecting the appropriate level of E/M services The next three components
(counseling, coordination of care, and nature of presenting problem) are considered
contributory factors in the level of E/M services but are not required to be provided
at every patient encounter The final component the amount time spent with patient
is utilized in selecting the most appropriate level of E/M services and includes range
of times depending on the actual clinical circumstances

CPT code 99213 is for the evaluation and management of an established
patient which requires at least 2 of the following 3 key components

(a) An expanded problem focused history;
(b) An expanded problem focused examination;
(c) Medical decision making of low complexity

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Usually the presenting problem(s) are of low to moderate severity, and a
minimum of 15 minutes are spent face-to-face with the patient and/ or family.

20. CPT code 99214 is for the evaluation and management of an established

patient, which requires at least 2 of the following 3 key components

(a) A detailed history;
(b) A detailed examination;
(c) Medical decision making of moderate complexity

Usually the presenting problem(s) are of moderate to high severity, and a
minimum of 25 minutes are spent face-to~face with the patient and/ or family.

Psychiatry CP’I1 Codes

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Based on my training and experience, l know that psychotherapy is the treatment of
mental illness and behavioral disturbances in which a physician or other qualified
health care professional, through therapeutic communication, attempts to alleviate
emotional disturbances reverse or change maladaptive patterns of behavior, and
encourage personality growth and development Psychiatry services include
diagnostic services psychotherapy, and other services to an individual family, or
group. Health care benefit programs reimburse for covered services only if those
services are medically and reasonably necessary, and not otherwise excluded from
coveragel

T he psychotherapy CPT codes used to document treatinth are 90832 through 90838.
Psychotherapy times are for face-to~face services with the patient and family member,
if present

To bill psychotherapy services the provider should choose the CPT code closest to the
actual time spent with the patient and/ or family member. CPT codes 90832 and 90833
are for 30 minute face~to-face sessions (covering an actual time range of l6-37
minutes). CPT codes 90834 and 90836 are billed for 45 minute face~to~face sessions
(covering an actual time range of 38-52 minutes). CPT codes 90837 and 90838 are
billed for 60 minute face-to-face sessions (covering an actual time range of 53 minutes
or more).

Some psychiatric patients receive E/l\/l services on the same day as a psychotherapy
service by the same physician ln order to report and claim reimbursement for both
E/M and psychotherapy services the two services must be significant and separately
identifiable The type and level of E/M service is selected first based on the key
components of history, examination, and medical decision making Then specific
psychotherapy service codes are to be selected These psychotherapy codes are called
“add-ons.” The “add-on” CPT codes to be used with an E/l\/l service code are 90833,
90836, or 90838. The E/M service cannot be billed based on the time spent in
psychotherapy, and the time associated with activities used to meet criteria for the
E/M service may not to be included in the psychotherapy tirne. ln other words a

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physician may not double~count the time spent with a patient to support a claim for
reimbursement for both E/l\/l and psychotherapy services

25. Not all psychiatric patients require an E/M service at the same time that they receive

psychotherapy care, and in such circumstances it is correct to bill for psychotherapy
services only by selecting an appropriate CPT code, such as 90832, 90834, or 90837.
Conversely, if only minimal psychotherapy is provided at an E/M visit, it is correct to
bill an E/M service code alone.

Allegations Concerning Health Care Frautl

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Dr. Cheema, a licensed physician in New York State since 2004, provides psychiatric
services at his private practice, Upstate Psychiatry, Monday through Friday. Dr.
Cheema is paid for services lie provides at his private practice through various health
care benefit programs patient co-payments and deductibles, and cash or checks.

Dr. Cheema has also provided psychiatric services at Rochester Regional Health
approximately 20 hours per week, and various nursing homes during the week and on
the weekends ln addition, Dr. Cheema has performed many consulting and speaking
engagements for pharmaceutical companies throughout the United States which
requires significant travel.

The investigation into Dr. Cheema began when the FBI learned from Excellus that he
had routinely and systematically changed office visit billing codes billed insurance
companies for telephone appointments as office visits and regularly had 30 or more
patients on his daily schedule. Dr. Cheema’s daily private practice office hours were
ll:00 a.m. to 5 :00 p.m. An audit conducted by Excellus on eight (8) patients for a six
(6) month time period in 2015 revealed an overpayment of 54% to Dr. Cheema in
relation to services not rendered and upcoding of office visits. Dr. Cheema routinely
billed the highest level of E/l\/l services for new patient visits and his medical notes
were missing the documentation to support the level of E/M services for his
established patients

The FBI obtained billing records from Excellus and an analysis of claims data from
lanuary 2013 to December 2015 disclosed approximately 81 days that Dr. Cheema
exceeded ten (10) hours of billed office visit time for Excellus’ members alone. This
analysis did not include billing from any other health care benefit program

ln addition to his private practice and as reported by the Centers for Medicare &
Medicaid Services (CMS) through Open Payments Dr. Cheema has been paid over
$855,000 by multiple pharmaceutical companies for 341 promotional speaking
engagements and 62 consulting opportunities from August 2013 to December 2016.
Open Payments is a national program that collects and publishes information
concerning financial relationships between the health care industry and providers ln
2016, Dr. Cheema was well above the national mean of compensation provided to a
psychiatric provider by $226, 163 .97. The national mean paid to a psychiatric provider
(out of 17,053 psychiatric providers nationwide) for 2016 was $2,925.95.

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31. Billing records from multiple private and government insurance companies were
requested An analysis of the records from the health care benefit programs was
conducted and demonstrated that, in the vast majority of instances Dr. Cheema billed
for E/M services plus an “add-on” psychotherapy code.

32. A pattern analysis was conducted by Excellus ranking Dr. Cheema among all his peers
who billed Excellus for psychiatry services The data ranked psychiatrists who billed
Excellus in Western New York and the surrounding areas by the amount of times
certain CPT codes were utilized The CPT codes analyzed were 99213, 99214, and
90833 for the time period of .l anuary l, 2016 through December 31, 2016.

(a) CPT 90833: Dr. Cheema ranked the 2“d highest biller of this code out of 287
psychiatrists

(b) CPT 99213: Dr. Cheema ranked the 7th highest biller of this code out of 434
psychiatrists

(c) CPT 99214: Dr. Cheema ranked the 17th highest biller of this code out of 403
psychiatrists

Video Surveillance of Dr. Cheema’s Private Practice

33. On December 7, 2017, surveillance of Dr. Cheema’s medical practice was initiated
This included video surveillance Video surveillance occurred in the rear of the office
complex focusing on the employee entrance to the building The video surveillance was
conducted in such a way that it would not record or capture any patients entering the
practice, but would instead be able to record Dr. Cheema entering the parking lot,
parking his car, and entering and exiting his office.

34. Analysis of the video surveillance was conducted on multiple days over several
months The video footage documented Dr. Cheema’s arrival and departure from the
practice The FBI reviewed Dr. Cheema’s patient schedule and billing records for the
time period of the video surveillance and compared his actual time in the office with
the number of patients he billed in a given day. That comparison showed that Dr.
Cheema falsely reported the time he spent seeing patients and the actual time with
patients was not long enough for Dr. Cheema to provide basic medical services
(medical history, physical examination, and psychotherapy) necessary to support the
matters being billed

35. A representative sample for three days is produced below.
December 14, 2016 - Survei]lance & Bi]]_ing Analysis
36. On December 14, 2016, video surveillance showed Dr. Cheema entering his private
practice at 1015 7 am and exiting the private practice at 4:59 pm, for a physical total of

6 hours and 2 minutes at his practice.

37. On that same date, Dr. Cheema’s schedule documented that he saw and billed for 25
individual patients. The average amount of time Dr. Cheema could spend with 25

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individuals during the 6 hours and 2 minutes that he was present would be 14 minutes
per person, provided he spent every minute face-to-face with a patient This does not
take into consideration any other normal interruptions that are typical in the office
environment to include writing medical notes Analysis of the physical surveillance,
scheduling documents and billing records show that Dr. Cheema repeatedly billed for
patient treatment time and patient medical services which he never provided

A review of Dr. Cheema’s schedule and billing show that insurance claims were
submitted on 25 individuals for December 14, 2016. The billing codes utilized for 23
of the 25 visits was CPT codes 99213 or 99214 together with psychotherapy “add on”
90833. Patient 24 was billed only CPT code 99213, and patient 25 was billed only
CPT code 99214_

The amount of time Dr. Cheema spent with 23 individuals using CPT code 99213 or
99214 along with an add-on psychotherapy CPT code (90833) does not meet the billing
requirements Indeed, psychotherapy CPT code 90833 alone requires a minimum of
16 minutes spent face-to-face with the patient The minimum 16 minutes would be in
addition to the necessary time it would take to meet the key requirements for CPT
codes 99213 or 99214_

fn addition, the 1 individual Dr. Cheema billed for CPT code 99214 without the “add
on” code does not meet the minimum billing requirements for that service CPT code
99214 requires a minimum of 25 minutes face-to-face time with a patient

December 15, 2016 - Surveillance & Bil]ing Analysis

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On December 15 , 2016 video surveillance showed Dr. Cheema entering his private
practice at 11:06 am and exiting at 4:41 pm, for a physical total of 5 hours and 35
minutes at his practice

On that same date, Dr. Cheema’s schedule documented that he saw and billed for 22
patients The average amount of time Dr. Cheema could spend with 22 individuals
during the 5 hours and 35 minutes that he was present would be 15 minutes per person,
providing he spent every minute face-to-face with a patient This does not take into
consideration any other normal interruptions that are typical in the office environment
to include writing medical notes Analysis of the physical surveillance, scheduling
documents and billing records show that Dr. Cheema repeatedly billed for patient
treatment time and medical services which he never provided

A review of Dr. Cheema’s schedule and billing claims show that insurance claims were
submitted on 21 individuals and l individual was a self-pay for December 15 , 2016.
The billing codes utilized for 19 of the 21 billed visits was CPT codes 99213 or 99214
together with psychotherapy “add on” 90833. Patient 20 was billed CPT code 90791,
and patient 21 was billed CPT code 99213. Patient 22 was a self-paying patient

. T he amount of time Dr. Cheema spent with the 19 individuals using CPT code 99213

or 99214 along with an add-on psychotherapy CPT code (90833) does not meet the

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billing requirements lndeed, psychotherapy CPT code 90833 alone requires a
minimum of 16 minutes spent face-to-face with the patient The minimum 16 minutes
would be in addition to the necessary time it would take to meet the key requirements
for CPT codes 99213 or 99214.

Dr. Cheema’s schedule also noted that 7 of the billed visits utilizing CPT code 99213
with 90833 were telephone appointments CPT codes 992l3 with “add on” code 90833
require a face-to-face office visit and a telephone call would not meet the requirement
for either code There are other billing codes eligible for telephone calls with patients

January 11, 2017 _ Surveillance & Bi]ling Analysis

46. On January 11, 2017 video surveillance showed Dr. Cheema entering his private

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practice at 10:06 am and exiting the private practice at 11:18 am. Dr. Cheema returned
to his private practice at 1:38 pm and exited the private practice at 5:11 pm for a
combined physical total of 4 hours and 42 minutes at his practice

On that same date, Dr. Cheema’s schedule documented that he saw and billed for 19
patients The average amount of time Dr. Cheema could spend with 19 individuals
during the 4 hours and 42 minutes that he Was present would be 14 minutes per person,
providing he spent every minute face-to-face with a patient This does not take into
consideration any other normal interruptions that are typical in the office environment
to include writing medical notes Analysis of the physical surveillance scheduling
documents and billing records show that Dr. Cheema repeatedly billed for patient
treatment time and patient medical services Which he never provided

A review of Dr. Cheema’s schedule and billing claims show that health care benefit
programs were billed for 18 individuals and l individual was self-pay for January 11,
2017. The billing codes utilized for 16 of the 18 billed visits was CPT codes 99213 or
99214 together with psychotherapy “add on” 90833. Patient 17 was billed CPT new
patient code 99205, and patient 18 was billed for a psychiatric diagnostic evaluation,
CPT code 90791. Patient 19 was a self-paying patient

This amount of time does not meet the billing requirement to use a CPT code for an
E/M service (99213 or 99214) along with an add-on psychotherapy CPT code (90833).
lndeed, psychotherapy CPT code 90833 alone requires a minimum of 16 minutes
spent face-to-face with the patient The minimum 16 minutes Would be in addition to
the necessary time it would take to meet the key requirements for CPT codes 99213 or
99214_

Furthermore, the 1 individual Dr. Cheema billed for CPT code 99205 does not meet
the minimum billing requirements for that service CPT code 99205 requires a
minimum of 60 minutes face-to-face time with a patient

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Fraudulent Billings Related to the Undercover Agent

51. During the course of this investigation, an FBI undercover agent (“UC”) posed as a
patient seeking psychiatric services on six (6) occasions from Dr. Cheema. The
undercover agent utilized an Excellus insurance card to pay for his visits along with a
cash co~payment of $25.00. The UC wore a covert audio and video recording device
during his contacts with Dr. Cheema.

52. The UC’s first in person contact with Dr. Cheema lasted approximately 20 minutes
At no point did Dr. Cheema perform any physical examination or provide any
psychotherapy Despite this, Dr. Cheema prescribed Bupropion and Trazodone to the
UC.

53- Subsequent in person appointments on other dates with Dr. Cheema lasted 10
minutes, 5 minutes, 14 minutes and 6 minutes At no point during any of these
appointments did Dr. Cheema perform any physical examination or provide any
psychotherapy. l-Iowever, he did change the UC’s medications several times. Dr.
Cheema also conducted one phone appointment with the UC which lasted 3 minutes.
No psychotherapy was provided during that call.

54. A review of the billing records submitted to Excellus for services provided by Dr.
Cheema related to the appointments with the UC show that Dr. Cheema falsely billed
Excellus for these sessions related to the duration and the nature of the treatment
provided,

55. Agents obtained and reviewed the UC’s medical records prepared by Dr. Cheema
during this investigation pursuant to a federal search warrant A review of the medical
records Ir. Cheema prepared following 5 of the 6 clinical appointments with the UC
showed that Dr. Cheema falsified medical records and notes related to those
appointments to support the false billing claims submitted to Excellus. Specifically, the
medical records document a specified treatment time and also claim that specific
therapeutic treatment modalities were provided to the UC during the appointments
UC covert video recordings show that these therapeutic methods were never provided
and that the UC was not in Dr. Cheema’s office for the time listed in the medical
records. ln addition, there was no medical record or progress note for one of the
appointments7 and the medical record for the telephone appointment was listed as an
“office visit” and included documentation pertaining to a physical examination which
could only be completed in person

56.The UC covert video recordings also showed that during most of the in person
sessions, that Dr. Cheema sat behind his desk working on his computer, made little
eye contact with the UC, and did not perform any physical examinations of the UC.
Fraudulent Billings

5 7. A statistically-valid random sample of 71 of Dr. Cheema’s patients was obtained,
consisting of those patients with health insurance that Dr. Cheema accepted and billed.

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Interviews of patients were conducted, and medical records and billing claims
submitted by Dr. Cheema were reviewed for the patients in the sample. This review
showed in the majority of instances Dr. Cheema improperly billed the health care
benefit programs for services that he did not provide

58. Set forth below are a few illustrations of findings based on the interviews conducted,
and review of the medical records and billing records

Fraudulent Billing Related to Sample Patient 1

59. Sample Patient l (“SPl”), with insurance through MVP, was seen by Dr. Cheema
from July 2012 to November 2016 for a total of 44 appointments SPl was interviewed
by law enforcement on _February 14, 2018. SPl stated his appointments with Dr.
Cheema lasted approximately 5 minutes and that Dr. Cheema would act like he didn’t
care about him during the appointments Dr. Cheema never looked SPl in the eye,
would always be looking at his cellular telephone, and would take telephone calls from
other patients during his appointments SPl believed Dr. Cheema took a medical
history from him at one time, but never performed a physical examination, took a
blood pressure, or provided psychotherapy SPl only went to Dr- Cheema for
medication management

60. Dr. Cheema submitted billing claims to a health care benefits program in connection
with the services allegedly provided to SPl, whose visits represent only a portion of all
the claims submitted by Dr. Cheema. Review of these records show that Dr. Cheema
provided false billing claims to MVP Health. Specifically, Dr. Cheema improperly
billed MVP as to the time he spent with SPl; the nature of the services he provided to
SPl; and the therapeutic treatment he provided to SPl. Review of Dr. Cheema’s
patient charts also showed false documentation related to the care and treatment Of
SPl. ln addition, there were multiple in office billings for dates of services where no
medical records existed in the chart except for the documentation of medications on
SPl’s medication log for those dates of service. Also, in some instances SPl’s medical
record documented “patient reports doing well,” however Dr- Cheema would bill for
a high level CPT code 99214 which is utilized for a patient who required a higher level
of care.

Fraudulent Bi]]ing Related to Sample Patient 2

61. Sample Patient 2 (“SPZ”), with insurance through Excellus, was seen by Dr. Cheema
from March 2012 to March 2017 for a total of 21 appointments SP2 was interviewed
by law enforcement on lanuary 9, 2018 and lune 27, 2018. SP2 stated his first
appointment with Dr. Cheema lasted quite a while, but the rest of appointments lasted
anywhere from 7 minutes to 15 minutes at the most SP2’s appointments with _Dr.
Cheema were for medication management only, and Dr. Cheema never performed a
physical examination nor provided psychotherapy Dr. Cheema never took a blood
pressure, checked his heart rate or took his temperature at any of his visits SPZ stated
if he wanted a psychotherapy session, Dr. Cheema would have referred him to

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someone else. SP2 and SP2’s family had increasing concerns regarding the prescribed
medications and the care he was receiving from Dr. Cheema.

62. Dr. Cheema submitted billing claims to a health care benefits program in connection
with the services allegedly provided to SP2, whose visits represent only a portion of all
the claims submitted by Dr. Cheema. Review of these records show that Dr. Cheema
provided false billing claims to Excellus. Specifically, Dr. Cheema improperly billed
Excellus as to the time he spent with SP2; the nature of the services he provided to
SP2; and the therapeutic treatment he provided to SP2. Review of Dr. Cheema’s
patient charts also showed false documentation related to the care and treatment of
SP2, including at least Eve medical records that appeared to have been altered to
include false vital signs and psychotherapy notes ln addition, SP2’s medical record
would document “patient reports doing well,” however Dr. Cheema would bill for a
high level CPT code 99214 which is utilized for a patient who required a higher level
of care.

Fraudulent Billing Related to Sample Patient 3

63. Sample Patient 3 (“SPS”), with insurance through Excellus, was seen by Dr. Cheema
from August 2012 to April 2017 for a total of 26 appointments SP3 was interviewed
by law enforcement on December 4, 2017. SP3 stated her appointments with Dr.
Cheema lasted approximately 5 minutes and were pointless During the appointment
time, Dr. Cheema would be texting on his cellular telephone or typing on his
computer. Dr. Cheema would be doing other things unrelated to her care. Dr. Cheema
has never performed a physical examination nor provided psychotherapy to SP3.

64. Dr. Cheema submitted billing claims to a health care benefits program in connection
with the services allegedly provided to SP3, whose visits represent only a portion of all
the claims submitted by Dr. Cheema. Review of these records show that Dr. Cheema
provided false billing claims to Excellus. Specilically, Dr. Cheema improperly billed
Excellus as to the time he spent with SPB, the nature of the services he provided to
SP3, and the therapeutic treatment he provided to SP3. On multiple occasions SP3’s
medical record would document “patient reports doing well,” however Dr. Cheema
would bill for a high level CPT code 99214 which is utilized for a patient who required
a higher level of care. ln addition, Dr. Cheema billed for dates of services where the
medication log indicated “no show," and there were no other medical records or
progress notes located for those dates in SP?)’s chart

Fraudulent Bi]]ing Related to Falsified/Altered Medical Records

65. ln the ordinary course of its business Excellus conducts random audits of health care
claims submitted by treatment providers One such audit was conducted on a claim
submitted to Excellus by Dr. Cheema in 2016 involving one of his patients The audit
identified missing medical documentation, Specifically identifying a missing lab report

66. On 3/21/2016, Dr. Cheema submitted a University of Rochester l\/ledical Center
(“URMC”) lab report to Excellus in support of his claim for payment for an office

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visit However, upon review of the laboratory report submitted by Dr. Cheema,
Excellus noted the report looked suspicious as the font used for the date of collection
did not appear to match the font of the surrounding information provided in the
document The date of collection on the URMC laboratory report received from Dr.
Cheema was “4/20/2015.” No claims were found in Excellus’ billing system to match
this date of service for the member. Excellus contacted the URMC Billing Oflice and
confirmed that URMC had no records on file for the member for this date of service.

Further examination of the URMC laboratory report revealed that the patient’s date
of birth did not correlate accurately with the correct age of the patient on the date of
service. Excellus contacted URMC’s Billing Oflice again, and verified that the actual
date the laboratory testing was completed was on 4/9/2013. Excellus’ claim history
verified that a claim was paid for the member for the 4/ 9/ 2013 date of service.

Exce]lus obtained a copy of the 4/9/2013 laboratory report directly from URMC. The
format of the report received from URMC did not match the one-page results received
from Dr. Cheema. Excellus also obtained a copy of the 4/ 9/ 2013 laboratory report
from the member’s Primary Care Physician (“PCP”). The format of the report received
from the PCP also did not match the one-page results received from Dr. Cheema.

During this investigation, a search warrant was executed on digital computer
equipment owned by Dr- Cheema. A forensic examination of one of the computers
located a document with the file name Scan_20160317.png in the folder labeled
“Pictures, ” with a create date of March 18, 2016. A review of the image identified this
as the aforementioned original laboratory results of the Excellus member.

Other Fraudulent Patient Records

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71.

On or about October 2015, Excellus randomly selected several patients of Dr.
Cheema’s for a routine audit Excellus contacted Dr. Cheema’s practice who indicated
that Dr. Cheema was out of the area at the time. ln his absence, members of Dr.
Cheema’s staff copied the requested records from the patient’s medical charts and
forwarded them to Excellus Upon review, Excellus noted for some of the patient’s
dates of services there were no correlating medical records or progress notes in the
charts, and documentation was insufficient to warrant the billing codes submitted by
Dr. Cheema. As a result of their findings Excellus either down coded billings not
supported by documentation or denied claims where there was no documentation at
all. Since these claims had been previously submitted by Dr. Cheema, Excellus sent a
letter to Dr. Cheema regarding potential repayment

On or about March 6, 2016, Dr. Cheema sent Excellus a letter referring to the audit
results ln the letter Cheema explained that during the audit he was out of the country.
The letter further explained that Dr. Cheema hand writes his notes while seeing
patients and the new evaluations are then transcribed and electronically faxed to the
referring provider. Dr. Cheema went on to explain that some of the requested
transcribed records were in his laptop and unable to be sent. Along with the letter
Cheema sent Excellus the missing transcribed initial evaluations and progress notes

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that were not sent by “mistake.” Dr. Cheema also reiterated that he spends a good
amount of time with each patient and therefor requested Excellus not down code the
patients- Dr. Cheema submitted 3 typed “Psychiatric Evaluations” and 6 hand written
“evaluation/l\/lanagement +Psychotherapy” notes.

Exce]lus conducted a follow up review of the new medical records received by Dr.
Cheema on March 14, 2016. Based on statements made in the aforementioned
medical records Exce]lus again requested further records from Dr. Cheema’s office on
March 17, 2016. These additional records should have supported statements in the 3
typed “Psychiatric Evaluations” and also claims made directly to Excellus by Dr.
Cheema. The results or the review are as follows:

a. The Primary Care Physicians (PCP) were contacted for the 3 patients whom
Dr. Cheema sent in the typed “Psychiatric Evaluations.” This was done in
order to verify Dr. Cheema’s statement in his aforementioned letter where he
stated he, “electronically faxed to the referring provider.” Two of the patients
PCP’s stated they had no record of any notes received from Dr. Cheema,
another patient’s listed PCP stated they had never seen that patient

b. In all three typed medical records, Dr. Cheema stated that he reviewed labs
and also ordered additional tests for each patient Excellus noted the following:
for two of the patients Excellus was unable to verify the validity of the
laboratory results submitted by Dr. Cheema because they were missing patient
demographic information, for two of the patients no billing claim records
existed for the dates of service listed on the laboratory result one patient’s lab
results were dated December lO, 2010, and one of the patients laboratory was
confirmed to be modified and not ordered by Dr. Cheema in 2015, as
mentioned previously in this affidavit

c. ln addition, despite the medical record reflecting that Dr. Cheema ordered
sleep studies, Excellus indicated that Dr. Cheema never requested any pre
authorizations at any point for the sleep studies of these patients.

Agents reviewed multiple medical records of Dr. Cheema’s patients throughout the
course of this investigation and did not find any typed “Psychiatric Evaluations”
similar to the three submitted to Excellus in any of Dr. Cheema’s patients medical
charts that were reviewed Typed electronic records did not begin until Dr. Cheema
switched to electronic medical records in 2017.

During the forensic examination of the computers seized in this investigation, the
typed “Psychiatric Evaluations” of one of the patients submitted to Exce]lus was
located on Dr. Cheema’s computer. The files showed they were created in 2016, after
the Excellus audit and as much as a year after the actual patient contact

Among the 6 hand written records referenced above submitted by Dr. Cheema was a
medical record for Sample Patient SP2. The medical record submitted to Excellus by
Dr. Cheema on March 14, 2016 was compared to the medical record in SP2’s medical
chart seized in the search warrant on August 3, 2017. Both records list the same date
of service, however the record found in the medical chart as of August 3, 2017, had

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added information such as vital signs, and psychotherapy time. This further supports
evidence of Dr. Cheema altering medical records more than a year after the visit was
Conducted and also adding false vital signs which were not taken during the visit in
2015 .

76. On December 12, 2016, the internet history of Cheema’s desktop computer showed

that he visited the website www.google.com and conducted searches for the terms
inpatient+psychiatry+audit+some+notes+are+missing_

77. On a regular basis, and on the behalf of Dr. Cheema the oiiice staff would submit the

HCFA 1500 form to the Health Care Benefit Programs. Dr. Cheema provided the
necessary information to the office staff or biller to complete the form and therefore
knowingly caused false claims for reimbursement to be submitted via HCFA 1500
forms. Each form contained language, certifying the accuracy of the submitted
information, and each submitted form was material to the Health Care Benefit
Program to which it was submitted Each of the Health Care Benefit Programs relied
upon the accuracy of these forms in paying Cheema for the claims

Fraudulent Board Certilication Documents

78. ln order for Dr- Cheema to remain a participating provider with Excellus and to

continue to be reimbursed for billing claims he submitted, Excellus required Dr.
Cheema to be board certified in Psychiatry. lf he was not board certified, Dr. Cheema
could no longer remain a participating provider and submit billing claims to Excellus.

79. On April 3, 2017, Dr. Cheema submitted proof of board certification to Excellus from

the American Board of Psychiatry and Neurology (“ABPN”) showing Dr. Cheema to
be board certified in Psychiatiy for the time period September 20l6 to December 31,
2026. However, this document was fraudulent

80. ABPN has confirmed Dr. Cheema was not board certified in Psychiatry, has never

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passed the ABPN certifying examination in Psychiatry or Neurology, and they have
never sent Dr. Cheema any version of a valid or sample ABPN certificate Upon
certification with ABPN, a physician is given a unique identifying number which is
included on any certification documents ABPN has seen and reviewed the certificate
presented to Excellus by Dr. Cheema, and has affirmed the certificate presented by Dr.
Cheema was an altered or falsiHed version of a valid certificate issued to a different
medical provider.

The forensic examination of the digital equipment seized from Dr. Cheema yielded
the following results:

a. On December 6, 2016, the internet history of the desktop computer showed

visits to the website www.google.com and conducted searches for the terms,
“psychiatry + board + pass + letter” and “abpn + passing + letters.”

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b. Dr. Cheema’s computers also visited websites of a board certified psychiatrist
from Arizona which linked to a valid ABPN Certificate with a unique board
certification number.

c. A JPEG file named dimplorna3_LI.jpg was located on Dr. Cheema’s desktop
computer with a created date of December 6, 2016. A review of the image
identified it as the valid American Board of Psychiatry and Neurology
Certificate belonging to the Arizona psychiatrist with the same unique board
certification number.

d. A JPEG file was located on Dr. Cheema’s desktop computer in the “Pictures”
folder and labeled ABPN.jpg. The created date of this file was December 6,
2016. A review of the ABPN.jpg image identified it as an American Board of
Psychiatry and Neurology Certificate bearing the name Dr. Muhammad Cheema,
with a date range of September, 2016 - December 31, 2026. This false certificate
bore the same unique board certification number as the valid certification
belonging to the actual credentialed physician from Arizona.

The Forensic Audio, Video and Image Analysis Unit (“FAVIAU”), Digital Evidence
Laboratory, Federal Bureau of lnvestigation, examined the ABPN certificate
submitted by Dr. Cheema to Excellus. FAVIAU detected multiple anomalies in the
certificate, and determined the name and date on the certificate were digitally
manipulated

During the forensic examination of the computers seized in this investigation, a
Curriculum Vitae was located on Dr. Cheema’s desktop computer and labeled
files\cheema(CV).docx. The created date of this file was December 18, 2016. On the
Curriculum Vitae under the “Professional Licensure” section was “Board
Certification, ABPN”.

A Curriculum Vitae was located on Dr. Cheema’s laptop computer and labeled
files\cheema(CV)9.docx. The created date of this file was March 28, 2017, and listed
under “Professional Licensure” was “Board Certification, ABPN. A Curriculum Vitae
with a similar file name, Hles\cheema(CV)9(l).docx, was created on May 30, 2017,
after Cheema was notified by the ABPN regarding the use of the fake certificate This
Curriculum Vitae had removed the statements pertaining to the ABPN credential.

Scope of the Fraudulent Activity

85.

Based on the foregoing, and my training and experience, Dr. Cheema defrauded the
health insurance programs by improperly billing for services he did not render. In
addition to the specific instances set forth above, Dr. Cheema also submitted
fraudulent bills for the majority of the patients in the random sample. The results of
the statistical sampling and the re-adjudications of claims billed demonstrate the total
percentage of fraudulent insurance payments to be 54.79%.

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86. Furthermore, beyond the random sample of patients, a review of billing records,
medical records, interviews, video surveillance, and undercover operation has shown
that a majority of the patients who visited Dr. Cheema did not meet the requirements
that would allow Dr. Cheema to bill the CPT codes that he choose to submit to the
health care benefit programs lt should be noted that in some instances Dr. Cheema
had several other CPT codes available to him that could have properly been billed, but
reimbursement for these codes would have been less than the codes that Dr. Cheema
chose to bi]l.

87. Based on my review of the pertinent information collected in this investigation, for the
period of January l, 2012 to July ll, 2017, l estimate that Dr. Cheema submitted
approximately $1.8 million in fraudulent claims.

Based upon the forgoing, your affiant respectftu submits that there is probable cause to
believe that MUHAMMAD A. Cl-IEEMA has violated Title 18, United States, Code, Section
1347, Health Care Fiuud, in that between January l, 2012 and July ll, 2017, within the
Western District of New York, he did knowingly and willfully execute and attempt to execute
the above-described scheme and artifice to defraud, obtain, by means of materially false and
fraudulent pretenses, representations, and promises, money and property owned by and under
the custody and control of Exce]lus and MVP, health care benefit programs as defined in Title
18, United States Code, Section 24(b), in connection with the delivery of, and payment for
health care benefits, items, and services, and

Further, your affiant respectftu submits that there is also probable cause to believe that
MUHAMMAD A. CHEEMA has violated Title 18, United States, Code, Section 1035,
Makz`ng False Statements Relati`iig to Health Care Marters, in that between January 1, 2012 and
July ll, 2017, within the Western District of New York, he did knowingly and willfully make
materially false, fictitious, and fraudulent statements and representations to include
submitting false billing statements for services never rendered, in connection with the delivery
of, or payment for health care benefits, items, and services involving Excellus and MVP,
health care benefit programs as defined in 18 U.S.C. § 24(b).

 

xRisTn`\i M. GrssoN
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me
this ;... day ofJuly, 2018.

 

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